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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                  )
 MAXELL, LTD.,                                    )
                                                  )
                               Plaintiff,         )
                                                  )
        v.                                        )     C.A. No. 17-1446-MN
                                                  )
 BLACKBERRY CORP. and                             )
 BLACKBERRY LTD.,                                 )
                                                  )
                               Defendants.        )
                                                  )

                    JOINT STIPULATION AND ORDER OF DISMISSAL

       WHEREAS, Plaintiff Maxell, Ltd. (“Maxell”) and Defendants Blackberry Corp. and

Blackberry Ltd. (collectively “Blackberry”) have resolved Plaintiff’s claims for relief against

Defendants asserted in this case.

       NOW, THEREFORE, Maxell and Blackberry, through their attorneys of record, request

this Court to dismiss Plaintiff’s claims for relief against Defendants, and the claims and defenses

raised by Defendants, with prejudice, and with all attorneys’ fees, costs of court and expenses

borne by the party incurring same.


  Dated: April 18, 2019                               Respectfully Submitted,

  /s/ Timothy Devlin                                  /s/ Chad S. C. Stover
  Timothy Devlin                                      Chad S.C. Stover (No. 4919)
  DEVLIN LAW FIRM LLC                                 Regina S.E. Murphy (No. 5648)
  1306 N. Broom St., Suite 1                          BARNES & THORNBURG LLP
  Wilmington, DE 19806                                1000 N. West Street, Suite 1500
  (302) 449-9011                                      Wilmington, DE 19801
  tdevlin@devlinlawfirm.com                           (T) (302) 300-3474
                                                      (F) (302) 300-3456
  Of Counsel:                                         chad.stover@btlaw.com
                                                      gigi.murphy@btlaw.com
  Jamie B. Beaber
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Kfir B. Levy                                  Brian C. Riopelle
James A. Fussell, III                         Brian D. Schmalzbach
Tiffany A. Miller                             Lyle D. Kossis
Baldine B. Paul                               MCGUIREWOODS LLP
Saqib J. Siddiqui                             Gateway Plaza
Alison T. Gelsleichter                        800 East Canal Street
Jonathan Weinberg                             Richmond, VA 23219
MAYER BROWN LLP                               (T) (804) 775-1000
1999 K Street, N.W.                           (F) (804) 698-2304
Washington, D.C. 20006                        briopelle@mcguirewoods.com
(202) 263-3000                                bschmalzbach@mcguirewoods.com
jbeaber@mayerbrown.com                        lkossis@mcguirewoods.com
klevy@mayerbrown.com
jfussell@mayerbrown.com                       Jason W. Cook
tmiller@mayerbrown.com                        Shaun W. Hassett
bpaul@mayerbrown.com                          MCGUIREWOODS LLP
ssiddiqui@mayerbrown.com                      2000 McKinney Avenue
agelsleichter@mayerbrown.com                  Suite 1400
jweinberg@mayerbrown.com                      Dallas, TX 75201
                                              (T) (214) 932-6418
Amanda Streff Bonner                          (F) (214) 273-7483
MAYER BROWN LLP                               jcook@mcguirewoods.com
71 S. Wacker Drive                            shassett@mcguirewoods.com
Chicago, IL 60606
(312) 782-0600                                Counsel for BlackBerry Corporation and
asbonner@mayerbrown.com                       BlackBerry LTD

Counsel for Plaintiff Maxell, Ltd.




           SO ORDERED THIS ____ day of ______________________, 2019.


                                           ________________________________
                                           UNITED STATES DISTRICT JUDGE




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